Case 20-10014-mdc             Doc 7    Filed 01/03/20 Entered 01/03/20 09:41:58         Desc Main
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                               UNITED STATES BANKRUPTCY COURT
                           FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                         DATE:1/3/2020

To: MAGGIE S SOBOLESKI
Center City Law Offices LLC
2705 Bainbridge Street
Philadelphia, PA 19146
                                             In re: Body Transit, Inc. D/B/A Rascals Fitness
                                             Bankruptcy No. 20-10014-elf
                                             Adversary No.
                                             Chapter 11

             Re: Chapter 11 Voluntary Petition for Non-individual.

The above document(s) were filed in this office on 1/2/2020. Please be advised that the filing fee
has not been received as required pursuant to the Federal Rules of Bankruptcy Procedure and/or
the Local Rules of this court.

                    (xx)    Voluntary Petition Amount $1717.00
                    ()      Adversary Proceeding Amount
                    ()      $31.00 Filing Fee for Amendments
                    ()      $25.00 Claims Transfer Fee
                    ()      Motion Filing Fee Amount

Please submit the payment(s) within seven (7) days from the date of this notice as required by
the courts standing order Misc. No. Order 15-3008REF. If the delinquency is not paid, this
matter will be referred to the Chief Judge.

                                         Timothy B. McGrath
                                         Clerk



                                         By: C. Wagner
                                          Deputy Clerk




Fee Notice
(11/26/18)
